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  17                         UNITED STATES DISTRICT COURT
  18                      SOUTHERN DISTRICT OF CALIFORNIA
  19 DARRYL DUNSMORE, ANDREE                         Case No. 3:20-cv-00406-AJB-DDL
     ANDRADE, ERNEST ARCHULETA,
  20 JAMES CLARK, ANTHONY EDWARDS,                   JOINT STATUS REPORT
     REANNA LEVY, JOSUE LOPEZ,
  21 CHRISTOPHER NORWOOD, JESSE
     OLIVARES, GUSTAVO SEPULVEDA,                    Judge:      Hon. Anthony J. Battaglia
  22 MICHAEL TAYLOR, and LAURA                       Magistrate: Hon. David D. Leshner
     ZOERNER, on behalf of themselves and all
  23 others similarly situated,                      Trial Date: None Set
                   Plaintiffs,
  24        v.
  25 SAN DIEGO COUNTY SHERIFF’S
     DEPARTMENT, COUNTY OF SAN
  26 DIEGO, SAN DIEGO COUNTY
     PROBATION DEPARTMENT, and DOES
  27 1 to 20, inclusive,
                   Defendants.
  28

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  11 COUNTY SHERIFF’S OFFICE and SAN DIEGO COUNTY PROBATION
     DEPARTMENT
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   1          After meeting and conferring on April 9 and April 16, 2025, the parties
   2 submit the following joint status report pursuant to the Court’s April 3, 2025 Order.
   3 I.       Party Agreements Regarding Discovery
   4          The parties agree that Plaintiffs and Defendants should not rely at trial (or in
   5 any supplemental expert reports) on any medical records that are not in both parties’
   6 possession as of the fact cutoff date. In other words, all medical records used by the
   7 parties or their experts must either have been produced in discovery, requested by
   8 Plaintiffs through the Sheriff’s Office’s authorized request process with a copy to
   9 Defendants counsel (Plaintiffs need not reproduce such records to Defendants), or
  10 requested by Plaintiffs through a third party (outside provider, family member, etc.)
  11 and produced to Defendants.
  12          Plaintiffs will depose Dr. Freedland for 2 hours and, if Dr. Freedland is
  13 unable to answer any of Plaintiffs’ questions because he is unable to answer
  14 questions because of a lack of knowledge, will depose Dr. Montgomery for 1 hour.
  15 II.      Disputed Discovery Issues
  16          A.     Depositions
  17          Plaintiffs’ Position: Plaintiffs seek to request documents with the depositions
  18 of Drs. Freedland and Montgomery that were identified in Defendants’ summary
  19 judgment motion (“MSJ”), including CHP’s disease management guidelines.
  20          Plaintiffs requested depositions of Defendants’ witnesses: Michael Binsfield
  21 (3 hours); Sergio Sanchez (1.5 hours); Arturo Bernal Perales (1 hour); and Eunice
  22 Ramos (1 hour). Declaration of Van Swearingen in Support of Motion for Fact
  23 Cutoff, Dkt. 834-3 at Ex. H 60–63.1 Each of these depositions is necessary to test
  24 new information provided by Defendants in their MSJ papers and to prepare for
  25 trial. Defendants’ briefing relies on these never-before deposed witnesses to support
  26 their claims that the jail system has changed and is now constitutional. Plaintiffs
  27
  28
       1
          Plaintiffs are filing this this document separately as Exhibit A because Defendants
       will not allow Plaintiffs to file this as an exhibit to the Joint Status Report.
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   1 have carefully selected these witnesses and have agreed to conduct them by Zoom.
   2 6.5 hours of depositions will not pose an undue burden on Defendants and will
   3 allow Plaintiffs to adequately prepare for trial. Plaintiffs are willing to forgo the
   4 deposition of Mr. Sanchez in the event that Defendants agree to the depositions of
   5 Mr. Binsfield, Mr. Perales, and Ms. Ramos.
   6                 Plaintiffs reserve the right to request further depositions with Defendants’
   7 witnesses should Defendants present additional new facts in their supplemental
   8 disclosures and/or discovery responses.
   9                 Defendants’ Position: Plaintiffs have never raised the idea of requesting
  10 documents for Drs. Freedland and Montgomery depositions. This Joint Status
  11 Statement is the first time it was disclosed. Defendants will not agree because of the
  12 non-disclosure and having no understanding of what documents Plaintiffs intend to
  13 request.
  14                 Plaintiffs assert that they need the depositions of Michael Binsfield and
  15 Sergio Sanchez. The basis for the assertion is that their declarations contain “new”
  16 information. The claim is incorrect. Both declarations contain information that has
  17 been available to Plaintiffs through discovery more than two years in the form of
  18 policies and procedures. Plaintiffs’ theory for why they should be entitled to
  19 additional discovery as to both witnesses is that they did not ask questions about the
  20 topics each covers in their declaration despite the fact that they were permitted more
  21 than a week to depose 30(b)(6) witnesses on all policies and procedures. The
  22 demand for new discovery arose from Defendants’ reply papers in support of MSJ,
  23 claiming it was “new.” Neither declaration contains “new” information and they
  24 were submitted with the opposition and not the reply.
  25                 In meet and confer, Defendants offered to allow Arturo Bernal Perales and
  26 Eunice Ramos to be deposed for an hour each because their declarations were “new”
  27 in the reply but in exchange for Plaintiffs agreement to drop the claim to Binsfield
  28 and Sanchez. Plaintiffs refused.

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   1          B.     Medical and Death Records
   2          Plaintiffs’ Position: Plaintiffs seek all non-CIRB death reviews and medical
   3 records regarding deaths in the jail or at a hospital from January 1, 2024 to
   4 February 3, 2025 as these are directly relevant to the constitutionality of medical,
   5 mental health, dental care and safety and security at the Jail. See Ex. A, filed
   6 separately. Plaintiffs also seek a set of 30 medical records that Plaintiffs’ and
   7 Defendants’ experts both review that meet certain criteria and are randomly selected
   8 for the time period June 1, 2024 to February 3, 2025. See Ex. A, filed separately.
   9          Defendants’ Position: There is no “new” information in the reply MSJ papers
  10 relating to deaths. This request is simply an add on which Plaintiffs are attempting
  11 to pass off as somehow related to the new information in the reply papers. It is not,
  12 Plaintiffs make no attempt to claim otherwise, and the request should be denied.
  13 III.     Defendants’ Supplemental Discovery Responses
  14          Plaintiffs’ Position: Plaintiffs have sought supplemental discovery responses
  15 from Defendants since February. See, e.g., Dkt. 834-3 at A-12, A-13, A-15, A-33–
  16 34. Given that the vast majority of documents Defendants produced were from
  17 December 31, 2023 or earlier, Plaintiffs seek supplementation of certain discovery
  18 responses for the period January 1, 2024 to February 2, 2025 from the County and
  19 NaphCare. The specific supplemental productions of RFPs, interrogatories, and ESI
  20 that Plaintiffs seek are identified in Defendants’ redline to the parties’ meet and
  21 confer agenda. 2
  22          Defendants’ Position: The request for “new” discovery that is before the
  23 Court arises exclusively from the reply MSJ papers. Plaintiffs threw in an undefined
  24 “supplementation” request, it has not been the proper subject of meet and confer,
  25 and it is entirely unclear what is being requested. The last minute, thrown in request
  26 should be denied as outside the scope of this issue.
  27   2
        Plaintiffs are filing this document and a letter to NaphCare separately as Exhibit B
  28 because     Defendants will not allow Plaintiffs to file this as an exhibit to the Joint
     Status Report.
     [4681061.6]                                  3                    Case No. 3:20-cv-00406-AJB-DDL
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   1 DATED: April 16, 2025                       Respectfully submitted,
   2
                                                 ROSEN BIEN GALVAN & GRUNFELD LLP
   3
   4                                             By: /s/ Van Swearingen
   5                                                 Van Swearingen
   6
                                                 Attorneys for Plaintiffs and the Certified Class
   7                                             and Subclasses
   8
   9 DATED: April 16, 2025                       BURKE, WILLIAMS & SORENSEN, LLP
  10
                                                 By: /s/ Elizabeth M. Pappy
  11
                                                     Susan E. Coleman
  12                                                 Elizabeth M. Pappy
  13                                             Attorneys for Defendants

  14
  15                                  SIGNATURE CERTIFICATION
  16                 Pursuant to the Court’s Electronic Case Filings Procedures Manual
  17 Section 2(f)(4), I certify that I have obtained consent of all signatories to the
  18 electronic filings of the foregoing document.
  19
  20 DATED: April 16, 2025                       ROSEN BIEN GALVAN & GRUNFELD LLP
  21
                                                 By: /s/ Van Swearingen
  22                                                 Van Swearingen
  23
                                                 Attorneys for Plaintiffs and the Certified Class
  24                                             and Subclasses
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